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                  Exhibit 1
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I
      t is important that we1                the situation of the city of Mardin,            I read the above mentioned
      encourage Muslims to respect           where Muslims and non-Muslims                   statement and it made me ill at ease. I
      their scholars. It is to no one’s      lived and, at the time, it was being            read it and reread it and just couldn’t
      benefit to put down the men            ruled by non-Muslims.                           come into terms with it. Coming from
      of knowledge who represent                                                             a Western politician such a statement
the religion of Allah. But when some         The scholars meeting in Mardin                  might be expected, but from a group
of our scholars - no matter how              issued what they dubbed as “The New             of “eminent” Muslim scholars? I must
knowledgeable they are - divert from         Mardin Declaration” in which they               say that with all the respect I try to
the straight path, we the Muslims,           declared the fatwa of Ibn Taymiyyah             have towards our learned ones, the
need to advise them. Everyone                unsuitable for our times and should             above statement is an ignominy
beyond the Messenger of Allah ‫ﷺ‬              not be used by “extremists to justify           that would be bad enough if it was
stands corrected. Umar (may Allah            violence”.                                      blurted out in an impromptu speech
be pleased with him) asked from                                                              let alone a well deliberated and
the pulpit: “If I divert away from the       Following are excerpts from                     thought-out, written declaration. It
straight path what would you do?”            the declaration along with my                   is an insolent statement that shows
One of the companions replied: “We           comments:                                       no respect to the sufferings of our
will put you straight with our swords.”                                                      ummah. It is a slap on the face of the
There is another incident were an             It is such a changed context that Ibn          Palestinian widow and the Afghan
old woman corrected Umar when he              Taymiyya took into consideration               orphan. It is disrespectful towards the
was speaking. Umar said: “Umar was            when passing his fatwa, and that now           millions of Muslims around the globe
wrong and the woman was right.”               makes it imperative that contemporary          who are suffering because of the
                                              jurists review the classical classification,
That is a healthy spirit that Muslims                                                        international community which these
                                              because of the changed contemporary
need to develop today. We respect             situation: Muslims are now bound by            scholars are crediting for bringing so
our scholars, but ours is a principle         international treaties through which           much “security and peace”.
centered religion; it is not centered         security and peace have been achieved
on men.                                       for the entire humanity, and in which          By such a statement they are not
                                              they enjoy safety and security, with           representing the ummah nor are
In April 2010, in the city of Mardin,         respect to their property, integrity and       they reflecting its sentiments. They
a group of scholars gathered2 in              homelands.                                     are speaking for none other than
order to re-interpret the fatwa of Ibn                                                       themselves.
Taymiyyah which was in response to           Has peace really been achieved for
a question sent to him pertaining to         the entire humanity? Are Muslims                Secondly, they claim that Muslims are
                                             enjoying security and peace? Or they            “bound by international treaties.”
1 This article was written as a refutation
of the new Mardin declaration by Shaykh
                                             don’t really matter as long as Western
Anwar al-Awlaki and completed in April.      societies are the ones enjoying it? Are         Why are the Muslims bound to them?
However due to technical difficulties its    these scholars following the news?              Who bound them?
publication was delayed.
2 This gathering included the scholars       If they think that they are enjoying            The international community they
Hamza Yusuf from the U.S., Abdullah bin      peace and security, the majority of             respect so much was born at the
Bayyah from Mauritania, Abdul Wahhab         the ummah think otherwise.                      funeral of the last Islamic Khilāfah.
at-Tariri from Riyadh, Habib Ali al-Jifri                                                    The Western powers came into
from Yemen and many others.

                                                                                                                                       33
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domination after they exterminated            So what exactly do they mean by            need to be leveled against him.
the Ottoman Khilāfah and divided              “security and peace have been              Muslims should level the charge of
it amongst themselves into zones              achieved for the entire humanity?”         kufr against those whom Allah and
of influence. They destroyed the                                                         His Messenger ‫ ﷺ‬considered as
Khilāfah, established control over the        Following are the conclusions the          disbelievers, not more, not less.
international community and then              scholars have reached:
came up with these treaties; and we                                                      Concerning the rulers: if they are
were not there at the table, we had           Ibn Taymiyya’s fatwa concerning            Muslim, but oppressive, ahl as-
no representation whatsoever, we              Mardin can under no circumstances be       Sunnah have two opinions: the first
were completely and utterly ignored           appropriated and used as evidence for      is they are allowed to rebel against
in the decision making process on             leveling the charge of kufr (unbelief )    them and this was what happened
                                              against fellow Muslims, rebelling
the world stage. We were not even                                                        during the early generations: The
                                              against rulers, deeming game their
present at the signing ceremonies.            lives and property, terrorizing those      revolt of al-Hussain against Yazid,
So why are we bound to those                  who enjoy safety and security, acting      Abdullah bin al-Zubair against
treaties? What kind of fiqh or logic          treacherously towards those who live (in   Marwan, Abdul Rahman bin al-
would make such treaties binding              harmony) with fellow Muslims or with       Ash'ath against Abdul Malik,
on us? We had no part and no say in           whom fellow Muslims live (in harmony)      Muhammad al-Nafs al-Zakiyyah and
any of these treaties. We only have           via the bond of citizenship and peace.     Zaid bin Ali against the Abbasids.
a presence in the crammed hall of             On the contrary, the fatwa deems all
the general assembly of the United            of that unlawful, not withstanding its     The second opinion: We are not
Nations, but not at the Security              original purpose of supporting a Muslim    allowed to rebel against the Muslim
                                              state against a non-Muslim state. Ibn
Council which is still off limits to the                                                 ruler even if he is oppressive and this
                                              Taymiyya agrees with all of this, and
50 plus Muslim states.3                       follows the precedent of previous          is the majority view. Our classical
                                              Muslim scholars in this regard, and does   scholars reached this conclusion
Probably they should read up a bit            not deviate from their position. Anyone    after studying our early history. Their
and refresh their memories with,              who seeks support from this fatwa for      view is that the rebellions against the
not wars of the past centuries, but           killing Muslims or non-Muslims has         oppressive rulers brought more evil
the wars fought recently by these             erred in his interpretation and has        than the oppression of the rulers.
particular democratic nations they            misapplied the revealed texts.
are trying to protect.                                                                   However, and this is the crux of the
                                              Overall the language used in this          matter: If a ruler has committed
They should remember WWII, the                declaration is not that of Islamic         disbelief then it is obligatory to
most devastating war man has ever             jurisprudence but is more a language       revolt against him. This is a matter
fought; the war in which the greatest         of a combination of lawyers and            of consensus among the classical
number of soldiers and civilians              peace activists. One may understand        scholars of ahl as-Sunnah.
ever died. It was also the first war in       that out of their desire of brevity
modern history were the number of             they did not include the textual           The declaration goes on to claim
civilians killed was greater than the         evidence for their sweeping blanket        that we may not terrorize those
number of soldiers. About 30 million          statements and conclusions but that        who enjoy safety and security. To
soldiers and about 50 million civilians       wouldn’t be much of a problem if           throw out such a blanket statement
lost their lives in this brutal war.          these conclusions were in line with        that we are not allowed to terrorize
Then came Korea, Vietnam, and now             Islamic law, but they are not.             those who enjoy safety and security
Iraq and Afghanistan. For the last                                                       in light of the present state of the
fifty years the Palestinian dilemma           The statement declares that we             world is another reckless statement.
has been a shameful chapter in the            cannot level the charge of kufr            According to these scholars, we the
book of humanity. Have we already             against fellow Muslims, we are not         Muslims are not allowed to terrorize
forgotten the war of the Balkans              allowed to rebel against rulers, and       the Israelis, or the Americans, or the
where Europe watched in silence the           we are not allowed to terrorize those      British who are living in safety and
genocide of European Muslims?                 who enjoy safety and security.             security while millions of Muslims
                                                                                         are being terrorized by them. We are
3 It needs to be noted that I am only         We are not allowed to level the            told to never mind the insecurity of
describing the current state of affairs. By   charge of kufr against fellow Muslims,     the Palestinian or the Chechen or
no means should it be understood to be        which is true. But when a Muslim           the Kashmiri. Never mind them. We
an approval of Muslims states being part      does commit kufr bawaĥ (open               are simply not allowed to terrorize,
of the United Nations.                        unbelief ), the charge of kufr does
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period.                                       groups in a framework of justice and      Russia as criminals in their respective
                                              common/shared interest. Shortcomings      occupation of Muslim lands. It does
No. We do not agree with that. We do          and breaches perpetrated by certain       not consider Spain to be criminal
not agree with that because Allah ‫ﷻ‬           states that happen to scar and mar this   in its occupation of Ceuta and
                                              process cannot and should not be used
says: {And prepare for them what                                                        Melilla (let alone considering it to
                                              as a means for denying its validity and
you can of strength and steeds of                                                       be criminal for occupying the entire
                                              creating conflict between it and the
war that you may terrorize with it                                                      Iberian Peninsula from the Muslims).
                                              Islamic Shari'ah.
the enemy of Allah and your enemy}
[al-Anfāl: 60]                                                                          So what do they exactly mean by
                                             The classification of abodes in
                                             Islamic jurisprudence is exactly that:     these international treaties?
We say that whoever terrorizes us,
                                             a classification. It is not some sort
we will terrorize them and we will do                                                   This declaration is out of touch with
                                             of innovative new law. It is simply
what we can to strip them of their                                                      the realities on the ground.
                                             a classification based on the many
safety and security as long as they do
                                             textual references on the subject.
us the same. They continue:                                                             When they say: “…the emergence of
                                             When Ibn Taymiyyah introduced
                                             his modified classification, that          civil states which guarantee, on the
 The classification of abodes in Islamic                                                whole, religious, ethnic and national
 jurisprudence was a classification based    was based on the new situation of
                                             Muslims living under non-Islamic           rights,” The civil states referred to
 on ijtihād (juristic reasoning) that was
                                             rule; it was based on this new             here have banned the niqab and
 necessitated by the circumstances of
                                                                                        fiercely defended the right to defame
                                                                                        Muhammad ‫ﷺ‬. They allow a very
 the Muslim world then and the nature        circumstance but there was no
 of the international relations prevalent    changing of the rulings and it was
 at that time. However, circumstances        in line with Islamic teachings. It was     restricted form of personal worship
 have changed now: The existence of          simply, a change in the classification.    that does not truly accommodate
 recognized international treaties, which    What we are presented with here            for the comprehensiveness of
 consider as crimes wars that do not                                                    Islamic practice. The civil state has
                                             in this declaration is not merely a
 involve repelling aggression or resisting                                              more authority over the wife and
                                             reclassification of abodes, but a
 occupation; the emergence of civil                                                     children than the Muslim head of the
 states which guarantee, on the whole,       thorough revision of usūl (Islamic
                                             principle tenets or foundations)           household. The law of Allah is not
 religious, ethnic and national rights,
                                             based on a new world order agenda.         recognized by this civil state and the
 have necessitated declaring, instead,
 the entire world as a place of tolerance                                               Muslim is forced to accept rulings of
 and peaceful co-existence between           “The existence of recognized               courts of law that are contrary to the
 all religions, groups and factions in       international treaties…” They are          law of Allah. So, on the whole, the
 the context of establishing common          recognized by the ones who set them        modern civil state of the West does
 good and justice amongst people,            and not by us.                             not guarantee Islamic rights.
 and wherein they enjoy safety and
 security with respect to their wealth,                                                 Also, when they say: “…necessitated
                                             “…which consider as crimes wars that
 habitations and integrity. This is what                                                declaring, instead, the entire world as
 the Shari'ah has been affirming and         do not involve repelling aggression
                                             or resisting occupation.” Not at all.      a place of tolerance and peaceful co-
 acknowledging, and to which it has
                                             The international community does           existence between all religions,”
 been inviting humanity, ever since
 the Prophet (peace and blessings            not consider the U.S. invasion of Iraq     Islam can never recognize and
 be upon him) migrated to Madina             and Afghanistan to be a crime. It does     live in peaceful co-existence with
 and concluded the first treaty/peace        not consider the Israeli occupation        worshiping a cow or an idol. Islam
 agreement that guaranteed mutual            of the land of pre-1967 to be a crime.     does not recognize shirk. Allah
 and harmonious co-existence between         Nor does it consider China, India, or      has honored us with guidance.
 the factions and various ethnic/race                                                   With this honor comes the added

                                                                                                                                  35
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responsibility of sharing the light of        based on acts that are considered         It represents a benign version of
Allah with the world.                         to be major sins and not acts of          Islam that is friendly towards the
                                              disbelief. They considered the            power holders of the day and stands
I challenge these scholars to point           one who commits such sins to be           against the changing of the status
out to me one - just one - Prophet            destined to an eternal punishment         quo. The declaration calls for a
of Allah who lived in peaceful                in Hellfire. So adultery, fornication,    blanket condemnation of “all forms
coexistence with the disbelievers?            drinking alcohol, and theft are all       of violent attempts-to-change or
                                              sins that commit a person to eternal      violent protest, within, or outside,
From Adam (peace be upon him) all             punishment. They have also accused        Muslim societies.”
the way to Muhammad ‫ﷺ‬, not one                the companions of the Messenger of
of them, not a single one, lived with         Allah ‫ ﷺ‬such as Ali and Mu'awiyah         This might be the way of Gandhi or
the disbelievers without challenging          of being disbelievers.                    Martin Luther King, but it is not the
them, opposing them and exposing                                                        way of Muhammad ‫ ﷺ‬who said: "I
their falsehood and resisting their           The second trait: They kill Muslims       was sent with the sword before the Day
ways. Not one of them lived without           and spare the lives of disbelievers.      of Judgment."
a conflict with the disbelievers that         The khawārij have caused so much
ended up with a total and final               civil strife during the reign of the      Islam does recognize changing
separation between the two camps:             Umayyads and the Abbasids and             through force and that is what
a camp of belief and a camp of kufr.          yet, they had no record of jihad          fighting fī sabīlillāh is. Today we
The disbelievers were then destroyed          against the disbelievers. Therefore,      cannot expect Palestine, Iraq or
either through a calamity or by the           the khawārij are a phenomenon             Afghanistan to be freed again
hands of the believers.                       that manifests itself during Islamic      except by force. Israeli and American
                                              rule and fades away, although not         aggression cannot be met with
This is what the Qur’an teaches us            completely, during times like ours.       pigeons and olive branches but must
about the Prophets. A cursory study           Yes, there still remains strains of       be met with bullets and bombs. It
of the Qur’an would solve such                takfīr today that are similar to those    is through the heroic acts of the
confusion over what our relationship          of the khawārij of yesterday but the      Palestinian martyrs that Israel had
with the kuffār should be like.               problem of extremism is a problem         forsaken its dream of a greater Israel
                                              that is most pronounced during            and retracted upon itself behind
 Amongst the priorities of Muslim             times of the strength of the ummah        walls and barriers. It is because of
 scholars and Islamic academic                rather than moments of weakness.          these operations that Ariel Sharon
 institutions, there should be the            In times like ours, it is the problem     unilaterally pulled out all Jewish
 analysis and assessment of ideas that        of the other extreme, irja`, that we      settlements in Gaza. The strategy of
 breed extremism, takfīr (labeling fellow
                                              need to actively tackle. The Murji`ah     the Palestinian resistance succeeded
 Muslims as unbelievers) and violence in
 the name of Islam. Security measures,        went to the other extreme end of          in exhausting the enemy and forcing
 no matter how fair and just they may         the scale and considered that no act      it into giving concessions. It was not
 happen to be, cannot take the place          that a Muslim might commit would          until internal differences within the
 of an eloquent (scholarly) elucidation       take him out of the folds of Islam. For   Palestinian rank that the tide turned
 supported by proof and evidence.             example, according to the Murji`ah,       again in favor of the Israelis.
 Therefore, it is the responsibility of the   if a Muslim legislates laws and
 ummah’s religious scholars to condemn        implements them in place of the laws      The rule of “what is taken by force
 all forms of violent attempts-to-change      of Allah, he is still a Muslim.           cannot be returned except through
 or violent protest, within, or outside,
                                                                                        force” is not only valid from a
 Muslim societies. Such condemnation
                                              What we need is the middle path; the      historical point of view but it is also
                                              path of the Messenger of Allah ‫ﷺ‬
 must be clear, explicit, and be a true
 manifestation of real courage-in-                                                      the statement of Qur'an: {So fight,
 speaking-the-truth, so as to eliminate       and his companions; the path that         [O Muhammad], in the cause of
 any confusion or ambiguity.                  follows the Qur’an and Sunnah. That       Allah; you are not held responsible
                                              is the straight path that we invoke       except for yourself. And encourage
The Messenger of Allah ‫ ﷺ‬warned               Allah in every raka`āh of Şalah to        the believers [to join you] that
                                                                                        perhaps Allah will restrain the
against the khawārij who represented          grant us.
                                                                                        [military] might of those who
a manifestation of extremist belief                                                     disbelieve. And Allah is greater in
and actions. There are two traits of          But sadly this is not what this           might and stronger in [exemplary]
the khawārij that stand out: Firstly,         declaration is about. This declaration    punishment} [an-Nisā’: 84]
they use to accuse Muslims of kufr            does not represent the middle path.
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What we see from the disbelievers          standing on the very battlegrounds             mentioned a few exceptions to this
today is not overtures of peace but        of the coming world war.                       rule. The one exception relevant to
demonstrations of might. The āyah                                                         our discussion here is in the situation
makes it clear that through fighting       Dear respected scholars: please spare          where there is no Imam or in the
and inciting the believers to fight        us your letting down. The Messenger            case where it is known that the Imam
– and not through concessions,             of Allah ‫ ﷺ‬said: “Whoever believes             does not promote jihad. In such a
appeasement, turning the other             in Allah and the Last Day should either        case, the scholars stated that both
cheek or even da`wah – is the might        say good or remain silent.”                    the offensive and defensive forms
of the disbelievers restrained.                                                           of jihad should not be stopped but
                                           In trialing times like these, we need          should be carried out by the ummah.
At a time when American                    to remind ourselves with this advice.          Ibn Qudamah stated that in the
expenditure on its army is anything                                                       absence of the Imam, jihad should
but decreasing, these scholars are         The declaration goes on to state:              not be stopped and the spoils of war
asking us to give up any form of           “Such condemnation must be clear,              should be divided among the fighters
resistance and live as law – Western       explicit, and be a true manifestation          according to the rules of shari'ah.
law that is – abiding citizens. They       of real courage-in-speaking-the-               Ibn Rushd states that: “obeying the
are asking us to live as sheep,            truth.” Courage? Absolutely not. There         Imam is mandatory unless the Imam
as pleasantly as a flock of tame,          is no courage in condemning Jihad.             orders the Muslims to commit a sin,
peaceful, and obedient sheep. One          There is nothing in it but cowardice.          then he should not be obeyed, and
billion and a quarter Muslims with                                                        preventing Muslims from fighting
no say on the world stage, stripped         Muslim scholars, throughout the ages,         obligatory jihad is a sin.”
from their right to live as Muslims         have always stressed and emphasized
under the law of Islam, directly and        that the jihad that is considered the          The basis of the legitimacy of jihad is
indirectly occupied by the West, are        pinnacle of the religion of Islam, is not      that it is either to repel/resist aggression
                                            of one type, but of many, and actually         (“Fight in the cause of Allah those who
asked to live as sheep. Is that the role
                                            fighting in the Path of God is only one        fight you, but do not transgress limits;
of scholars?                                type. The validation, authorization,           for Allah loveth not transgressors” —
                                            and execution of this particular type          Şūrah al-Baqarah, 190), or to aid those
America is increasing its military          of jihad is granted by the Shari'ah to         who are weak and oppressed (“And why
budget not to fight Martians but            only those who lead the community              should ye not fight in the cause of Allah
to fight Muslims. On the other              (actual heads of states). This is because      and of those who, being weak, are ill-
hand, Iran is building the most             such a decision of war is a political          treated (and oppressed)?” — Surah al-
powerful military in the region.            decision with major repercussion and           Nisā’, 75), or in defense of the freedom
The foundations of the empire of            consequences. Hence, it is not for a           of worshiping (“To those against whom
the Shi'a are being laid in front of        Muslim individual or Muslim group to           war is made, permission is given (to
                                            announce and declare war, or engage            fight), because they are wronged; —
our own eyes. With some foresight,
                                            in combative jihad, whimsically and            and verily, Allah is most powerful for
one can see where this is heading.          on their own. This restriction is vital for    their aid” — Surah al-Ĥajj, 39). It is not
The area termed the ‘Middle East’ is        preventing much evil from occurring,           legitimate to declare war because of
edging towards a war on a colossal          and for truly upholding Islamic religious      differences in religion, or in search of
scale. The ahl as-Sunnah up until           texts relevant to this matter.                 spoils of war.
this moment are the weakest of the
three conflicting parties. The Gulf         The validation, authorization, and            The justifications of jihad listed
monarchs and the military juntas            execution of this particular type of jihad
                                                                                          above are valid but not inclusive.
                                                                                          The Messenger of Allah ‫ ﷺ‬said: “I
have completely sold us out. Our            is granted by the Shari'ah to only those
heads of state have betrayed us at a        who lead the community (actual heads
                                            of states).                                   was instructed to fight mankind until
critical moment in our history. The                                                       they testify that there is no one worthy
last thing we need is for our scholars                                                    of worship except than Allah, and
                                           This statement needs elaboration.
to follow suit. The ahl as-Sunnah do                                                      that Muhammad is the Messenger of
                                           There is no explicit evidence that
not need more demoralization. They                                                        Allah, they establish Şalah and they
                                           the permission of the Imam is
do not need scholars to tell them to                                                      pay Zakah. Whoever does so have
                                           needed for jihad. But the scholars
pull the shades over their eyes and                                                       protected from me his blood and his
                                           deducted such a requirement from
live in peace in a “civilized” world                                                      wealth” [Bukhari and Muslim].
                                           other evidence and because jihad
under the protection of “international
                                           is an act of worship with critical
treaties” when we, who are living in                                                      This ĥadīth declares that the Muslims
                                           and encompassing consequences.
the Muslim world, foresee that we are                                                     have a mission to bring Islam to the
                                           However, the scholars also

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world and the application of this         religious practices as long as they
ĥadīth by the Saĥābah is the best         paid the jizyah in a state of humility.    In fact, the classical scholar Ibn Rajab
explanation of it.                        They were made to know that their          al-Hanbali states that the purest
                                          religious practices were false, that       and best form of sustenance for the
The first Caliph Abu Bakr (may Allah      Islam does not approve of either           believer is that of ghanīmah (spoils
be pleased with him) fought against       Judaism or Christianity, and that          of war) because it was the source of
the apostates and against the two         they are considered to be misguided        living Allah has chosen for His most
superpowers of his time, the Roman        and are destined to Hellfire. The          beloved of creation, Muhammad ‫ﷺ‬.
and Persian Empires. The war against      early Muslims let the Jews and the
the apostates was to reestablish the      Christians know this in the clearest       The Messenger of Allah ‫ ﷺ‬said: “My
acceptance and submission of the          and most unambiguous manner.               sustenance was made to be under my
tribes of Arabia to the law of Allah.     They did this out of concern and care      spear”.
Abu Bakr (may Allah be pleased with       for them.
him) said if they refuse to give even                                                It is known from the sīrah that the
a bridle they used to give to the         Regarding their statement: “It is not      Messenger of Allah ‫ ﷺ‬lived off the
Messenger of Allah ‫ﷺ‬, he will fight       legitimate to declare war because of       fifth of the fifth of the spoils of war
them over it.                             differences in religion, or in search      which was prescribed to him in the
                                          of spoils of war.” This statement is       Qur’an. Throughout our early history,
The wars with the Persian and Roman       false. The pagans of Arabia were           the greatest source of income for the
Empires were unprovoked and were          fought because they were pagans,           Muslim treasury was through the
for the prime purpose of spreading        the Persians were fought because           revenue generated from fighting fī
the truth to humanity. The Muslim         they were Zoroastrians and the             sabīlillāh. Spoils of war, jizyah (a tax
messenger to the Persian leader           Romans were fought because they            taken from the Jews and Christians),
said: “Allah has sent us to deliver the   were Christian. The great Muslim           and kharaj (a land toll taken from
servants of Allah out of servitude        Sultan Mahmud Sabaktakeen fought           conquered land) represented the
of one another into the service of        against the Hindus because they            most important sources of income
Allah, and out of the narrowness          were Hindus and he personally led          for the Islamic treasury.
of this world into the vastness of        his army in a risky campaign deep
both this world and the afterlife and     into the land of India with the sole        The issue of Fatwas in Islam is a
out of the oppression of religions        objective of destroying the most            serious one. It is for this reason that
into the justice of Islam.” There is no   revered idol in all of India. He was        scholars have drawn up stringent
conciliatory tone in this statement       fighting because of this “difference        conditions/requirements for the Mufti
                                                                                      (the authority issuing fatwas). Of
and no inclination on part of its         of religion” our esteemed scholars of
                                                                                      these conditions is that he must be
deliverer to live in “harmony” with       Mardin are discounting.                     fully qualified in scholarly learning/
followers of different religions. It
                                          Allah ‫ ﷻ‬says: {And fight them until
                                                                                      knowledge. Of the conditions specific
was clear to the virtuous Muslims                                                     to the fatwa itself is having established
then, who had proper understanding        there is no fitnah and [until] the          the proper object of application (manat)
of what their duties towards Allah        religion, all of it, is for Allah} [al-     according to place, time, and person,
were and who had pride in Islam,          Anfāl: 39]                                  circumstance, and consequence/future
that all religions were false, and that                                               outcome.
all systems of government were            The Messenger of Allah ‫ ﷺ‬said: “I
oppressive, and that only Islam can       was instructed to fight mankind until       The notion of loyalty and enmity (al-
                                          they testify that there is no one worthy    walā’ wa al-barā’) must never be used
offer mankind salvation in both
                                                                                      to declare anyone out of the fold of
this world and in the Hereafter.          of worship except Allah”.
                                                                                      Islam, unless an actual article of unbelief
They understood that by approving                                                     is held. In all other cases, it actually
others in their ways they are not         Fighting fī sabīlillāh can also be for      involves several types of judgment
doing them a favor, and they are not      the objective of spoils of war. Most        ranging according to the juridical five-
acting tolerantly towards them but        of the dispatches that the Messenger        fold scale: permissible, recommended,
they are doing them a disservice by       of Allah ‫ ﷺ‬sent from Madinah                not recommended, non-permissible,
not showing them the way of truth         were in search of spoils of war. Badr       and required. Therefore, it is not
that would save them from eternal         itself was an expedition headed by          permissible to narrow the application
torment. Exceptions were made for         Muhammad ‫ ﷺ‬himself in pursuit of            of this notion and use it for declaring
the Jews and the Christians, where        a caravan of goods belonging to the         Muslim outside the fold of Islam.
they were allowed to retain their         Quraish.
                                                                                     Yes, fatwa is a serious matter and
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should only be issued by those              in the “New Mardin Declaration.” Here       pretty fascinating. They gathered
qualified. Hence, the Muslim masses         are some of the headlines:                  from different countries and went
today need to beware of any fatwa           - Muslim scholars denounce Osama’s          all the way to Mardin, they held
that calls for the re-interpretation        jihad4                                      an entire conference to study the
of well grounded, accepted, and             - Fatwa rules out violence, scholars        Mardin fatwa, and then the itinerary
valid fatwa's given by the classical        say5                                        for the conference stated that the
scholars of the past whom the               - Osama bin Laden misinterpreted            scholars were going to have a special
ummah accepted and recognized as            jihad fatwa6                                session for the announcement of
righteous men of knowledge. We are          - Muslim scholars recast jihadist’s         the “New Mardin Declaration” with
living in a time when the West has          favorite fatwa7                             all the scholars signing it as if it is
publicly stated that it will use Muslim                                                 some kind of great manuscript and
against Muslim in the battlefield and       So why did the media in the West            then they are to pose together for a
will use scholar against scholar in the     give this “New Mardin Declaration”          “group photograph” for this historical
battle for the hearts and minds of the      more weight than it deserves? Is it         moment!
Muslim ummah. As one CIA official           some kind of breakthrough fatwa
stated: “If you found out that Mullah       that would shake the foundations            The reality of the matter is that the
Omar is on one street corner doing          of the jihad of today? Not at all.          “New Mardin Declaration” is probably
this, you set up Mullah Bradley on the      This declaration is pretty much             more relevant at scoring points for
other street corner to counter it”.         meaningless. Even the Mufti of              its signatories with the West, as is
                                            Turkey, albeit for different reasons        apparent by the Western media
Abdullah bin Mas'ood (may Allah be          than what I mentioned, stated that          hailing it, than causing any change
pleased with him) said: “Follow those       it is “incredibly meaningless.” This        on the course of the modern jihad
who have passed away because the            comes from a Turkish newspaper              movement.
living is not secure from fitnah (trials    covering the event:
that may cause a person to lose their                                                   Closing Comments:
religion).”                                  But top Turkish religious leaders were
                                             notably absent from the gathering.         Our scholars should focus more
The early generations have                   Members of local Mardin press outlets      on justice than on peace. A people
formulated a framework for all the           speaking with Sunday’s Zaman on the        who have their land occupied,
                                             sidelines of the conference noted that
issues covered in this declaration:                                                     their resources plundered by major
                                             many locals viewed the conference
jihad, extremism, rules of leveling          with suspicion before it even began.       Western corporations, their kings
charges of kufr against a Muslim,            “People are worried that the conference    and presidents are stooges who have
and al-walā’ wa al-barā’. Therefore,         sponsors are connected to the British      authority to oppress and steal but
there is no need to re-interpret these       government and that the whole              no authority to act independently of
core tenants based on what is clearly        thing is part of some sort of effort to    their Western masters, their children
nothing more than an approval of             use Muslims’ own religious texts and       and women are fair play for American
a worldview as defined by those in           resources to tie their hands when it       firepower; such a people do not need
power, i.e. the West.                        comes to issues of jihad as defense.       to hear needless sermons on Islam
                                             They’re worried that the conclusion of




I
                                                                                        being the religion of peace. They
                                             the conference will be that jihad is no
    n closing, one has to wonder                                                        need to hear how Islam will bring
                                             longer valid in our day and age -- and
    as to why there was a great              that this will rule out resistance even    them justice and retribution. They
    emphasis placed on the fatwa of          under situations of oppression such as     want to hear how Islam can help
    Ibn Taymiyyah on Mardin by the           that in Palestine today,” one journalist   them bring an end to occupation,
issuers of this declaration. The fatwa       said, speculating that the absence of      how Islam can allow them to live in
of Ibn Taymiyyah was in-line with            some scholars could be due to their        dignity under their own system of
the opinions of the scholars before          unwillingness to be associated with an     government, and ruled by their own
him and after him. So to believe             event that might prove to be locally       people. They need to be empowered
that somehow the mujahidin are               unpopular.                                 and encouraged. This is the message
so dependent on this fatwa and are                                                      the Muslims are waiting to hear from
basing their jihad on it is not the case.   However, the marketing schemes              our esteemed scholars.
Many, if not most, of the mujahidin         used for this “Declaration” were
have never even heard of it.                4 (CNNi Report 01 April 2010)               The “New Mardin Declaration” is not
                                            5 (The Vancouver Sun 01 April 2010)         worth the ink and the paper it is
The media has also showed interest          6 (ZeeNews.com 01 April 2010)               written on. It is a disgrace for those
                                            7 (Reuters News Agency 31 March 2010)

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                                who agreed to take part in it, and has nothing to do with the
                                ummah whom Allah described as being: {...the best nation
                                brought forth to humanity}.

                                Determining the path for the future of the ummah was not left
                                to our whims but was already set forth for us by the Messenger
                                of Allah ‫ﷺ‬. He said: “A group of my ummah will continue fighting
                                until the Day of Judgment”. He also said: “I was instructed to fight
                                mankind until they testify that there is no one worthy of worship
                                other than Allah”. We stand firmly by these statements of our
                                beloved Prophet ‫ ﷺ‬and we will, by the will of Allah, fight to
                                uphold them and call others towards them. We stand firmly
                                by the giant classical Imams of the ummah and we will not be
                                deterred by the dwarfs of today, and we refuse all attempts of
                                rewriting the Islamic shari'ah to kowtow to a New World Order
                                that doesn’t belong to us and must be challenged and changed.

                                Just as the khilāfah and the shari'ah rule were dismantled, we
                                now see such dangerous attempts at dismantling the body of
                                fiqh of our early scholars. This call to discard the fatwa of Ibn
                                Taymiyyah should not be seen as merely a disagreement with
                                ibn Taymiyyah on a particular point of legislation but as part of
                                an orchestrated effort, under the sponsorship of the West, to
                                discard the body of work done by centuries of scholarly work
                                by the Imams of the ummah. But to put it that way is to put it
                                mildly. It is in its essence a covert attempt at abrogating all the
                                verses of Qur’an and hadith that call for the establishment of
                                Islamic rule, fighting aggression, and fighting for the spread of
                                the call of Islam. According to these scholars, these rules simply
                                have no place in the modern world. According to them there is
                                a New World Order that necessitates a New World fiqh. A fiqh of
                                submission, a fiqh of rendering what is unto Caesar to Caesar,
                                a fiqh that would allow the cowards to live in peace. It doesn’t
                                matter what quality of life they live as long as they are living.

                                Changing the status quo is not an easy task. Rocking the boat
                                affects everyone. The Prophets experienced the consequences
                                of challenging the status quo that was instituted and defended
                                by the powerful. They suffered, and their followers suffered.
                                But that did not deter them from carrying on their mission.
                                Today the status quo is fiercely defended by the powerful and
                                not everyone has the courage to go against it. If you defy it you
                                suffer. You pay a price. Those who oppose the status quo see
                                a powerful current and they are reluctant to cross it because,
                                in the eyes of many, to go against the tide in today’s world is
                                insanity. Sadly, today many of our scholars have opted for the
                                option of safeguarding themselves rather than safeguarding
                                the religion. The problem is when this personal weakness is
                                masked under the cloak of religion, and religion is used to justify
                                a position that cannot be justified neither by our fiqh nor our
                                history.

                                Jihad will continue in its various forms and fighting will continue
                                until the Day of Judgment and will not be harmed or deterred
                                by those who betray it.
